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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 1:21-CV-21079-Bloom


 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.,
 f/k/a SWISS AMERICA SECURITIES LTD.
 and d/b/a SURETRADER, and
 GUY GENTILE, a/k/a GUY GENTILE NIGRO,

       Defendants.
 ___________________________________________/

                     PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES AND
                          CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 and the Court’s order dated March 23,

 2021 (ECF No. 4), Plaintiff Securities and Exchange Commission files its Certificate of Interested

 Parties and Corporate Disclosure Statement:

 Interested Parties

 The name of each person, attorney, association of persons, firm, law firm, partnership, and
 corporation that has or may have an interest in the outcome of this action -- including subsidiaries,
 conglomerates, affiliates, parent corporations, publicly traded companies that own 10% or more
 of a party's stock, and all other identifiable legal entities related to any party in the case:

 Plaintiff, Securities and Exchange Commission
 801 Brickell Avenue, Suite 1950
 Miami, FL 33131

 Alice K. Sum
 Securities and Exchange Commission
 801 Brickell Avenue, Suite 1950
 Miami, FL 33131
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 Securities and Exchange Commission
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 Matthew A. Ford, Esq.
 Ford O’Brien, LLP
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 New York, NY 10017

 Dayliset Rielo
 The Rielo Law Firm, LLC
 8180 N.W. 36th Street, Suite 200
 Miami, FL 33166

 MintBroker International, Ltd. (Bahamas)
 c/o Michael C. Miller, Registered Agent
 Winthrop Heights
 10 Lookout Hill
 Nassau, Bahamas

 Igal Wizman
 Eleanor Fisher
 Joint Provisional Liquidators for MintBroker International, Ltd.
 Ernst & Young
 c/o Warren Gluck
 Holland and Knight LLP
 31 West 52nd Street, 12th Floor
 New York, New York 10019

 Warren Gluck
 Holland and Knight LLP
 31 West 52nd Street, 12th Floor
 New York, New York 10019
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 Mint Custody Limited

 MinTrade Technologies, LLC

 F1Trade, Ltd.

 Mint Global Markets, f/k/a Stock USA Execution Services, Inc.

 ProTrade Securities, LLC

 MintBroker International Limited (U.K.)

 Mint Bank International, LLC



 Corporate Disclosure Statement

 Identify any parent corporation and any publicly held corporation owning 10% or more of its stock.

 None.


 November 26, 2021                          Respectfully submitted,


                                            Alice K. Sum
                                            Alice K. Sum, Esq.
                                            Trial Counsel
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                                            Facsimile: (305) 536-4154
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served this 26th day

 of November 2021 via CM-ECF on all defense counsel in this case or other interested parties in the

 manner denoted below.

 Via UPS
 MintBroker International, Ltd.
 c/o Michael C. Miller, Registered Agent
 Winthrop Heights
 10 Lookout Hill
 Nassau, Bahama

 Via Email
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 Jessica Magee, Esq.
 Holland and Knight LLP
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 Counsel for Igal Wizman of Ernst & Young,
 Joint Provisional Liquidators

                                                     Alice K. Sum
                                                     Alice K. Sum
